Case 3:22-cv-30059-MGM Document 30-3 Filed 09/12/23 Page 1 of 16




                   Exhibit C
        Case 3:22-cv-30059-MGM Document 30-3 Filed 09/12/23 Page 2 of 16



                                                                Page 223

 1                       UNITED STATES DISTRICT COURT
 2                     FOR THE DISTRICT OF MASSACHUSETTS
 3      LAUREN ROLLINS,
 4                Plaintiff,
 5          vs.                    Civil Action No. 3:22-cv-30059
 6      R STREET INSTITUTE,
 7                Defendant.
 8      -------------------------------x
 9      (Contains confidential testimony)
10
11
12
13                           CONTINUED DEPOSITION OF
14                                LAUREN ROLLINS
15                             CONDUCTED VIRTUALLY
16                             Friday, June 23, 2023
17                                   9:08 a.m.
18
19
20
21
22                             Laurie K. Langer, RPR
23
24


     1-800-727-6396              Veritext Legal Solutions         www.veritext.com
        Case 3:22-cv-30059-MGM Document 30-3 Filed 09/12/23 Page 3 of 16



                                                                 Page 290

1




                               REDACTED




21          Q.   Okay.   Now, on the first day of your deposition

22      you had indicated that part of your testimony was

23      impacted by the fact that you are neuro-divergent?

24          A.   I am.



     1-800-727-6396              Veritext Legal Solutions         www.veritext.com
        Case 3:22-cv-30059-MGM Document 30-3 Filed 09/12/23 Page 4 of 16



                                                                 Page 291

1           Q.    That was the term that you used?

2           A.    Yes.

3           Q.    And you just said that you are on the spectrum.

4       I just want to make sure I understand, because you've

5       now disclosed this.       You are on the autism spectrum?

6           A.    On the autism spectrum and ADHD.

7           Q.    And from your point of view, how does that impact

8       your ability to give truthful and accurate testimony?

9           A.    It makes me truthful to a fault.

10          Q.    Okay.

11          A.    Brutally honest is what it makes me.        That's --

12      and it makes me explain in great detail myself.           So

13      that -- because I understand that my communication style

14      is off-putting or poorly understood by neuro-typical

15      people.       And so I over-communicate as much of my actual,

16      you know, literal what I'm trying to do, so that there

17      is not miscommunication.

18                And I tend to do that in writing because, you

19      know, the fact that I don't look directly at people or

20      other parts of the way that I present socially or

21      present physically are misread by people who are used to

22      normal social conventions and behaviors.

23          Q.    Okay.    And I think in the first day it came up in

24      relation to chronology, basically, getting chronology,



     1-800-727-6396               Veritext Legal Solutions        www.veritext.com
        Case 3:22-cv-30059-MGM Document 30-3 Filed 09/12/23 Page 5 of 16



                                                                 Page 292

1       chronological events right.          Is that a function of your

2       ADHD or autism diagnosis?

3           A.   So autism and ADHD particularly in women of my

4       age is poorly understood.        Because when I was a child

5       they didn't even think women could be autistic or have

6       ADHD.

7                And so those behaviors are frequently sort of

8       intertwined.     They present themselves in similar ways.

9       So in someways there isn't really, in people who likely

10      have both, it's very difficult to know if it's the ADHD

11      causing that or whether it's the way that I process.

12      And I process from the bottom up instead of a

13      neuro-typical person processes from the top down.

14               So that means I build upward as opposed to seeing

15      a giant thing and getting back down to the bottom.            That

16      makes it very difficult.        I don't track times.     So for

17      example, if you show me something visual and I see the

18      date in it, then I can place it around the feeling of

19      the time.     Like, I'll remember the sensory of being in

20      that meeting.     Essentially it's like having a

21      photographic memory as opposed to a, you know, one you

22      can pull data out of.

23          Q.   Okay.   And you -- I think you just testified that

24      one of the symptomology of your autism spectrum disorder



     1-800-727-6396              Veritext Legal Solutions         www.veritext.com
        Case 3:22-cv-30059-MGM Document 30-3 Filed 09/12/23 Page 6 of 16



                                                                    Page 293

1       diagnosis, if I'm saying that right, I'm not actually

2       sure it would be characterized as a disorder, but your

3       autism spectrum diagnosis is that you are brutally

4       honest and blunt; do I have that right so far?

5           A.   Those are features of non-stereotypical autism.

6       And also stereotypical autism.           I'm on the

7       non-stereotypical side.       Which means I don't

8       present -- I present more like someone who is typically

9       functioning.     Most of my internal processing happens

10      inside as opposed to someone who is stereotypical, will

11      repeat things over and over and over.               I do that in my

12      head.

13          Q.   I thought you had said that -- I thought I had

14      asked you how is that going to present itself in terms

15      of your testimony today and you said, "I'm brutally

16      honest to a fault"?

17          A.   To the best of my ability, yes.             But that's why

18      when you say would you classify a certain word a certain

19      way, no, I wouldn't.      That's not how I feel about it.

20          Q.   But is your sort of brutal honesty a

21      characteristic of your autism diagnosis?

22          A.   Yes.   It is a characteristic of most people on

23      the spectrum at any part.

24          Q.   And do you believe that you yourself are more



     1-800-727-6396              Veritext Legal Solutions            www.veritext.com
        Case 3:22-cv-30059-MGM Document 30-3 Filed 09/12/23 Page 7 of 16



                                                                    Page 294

1       blunt than a neuro-typical individual?

2           A.   Yes.

3           Q.   And do you believe that your bluntness is often

4       misunderstood?

5           A.   As a woman, particularly, yes.             It is

6       specifically hard for women because we, for all of the

7       reasons that I hope we understand.

8           Q.   Outside of your experience working at R Street,

9       have you had experiences where people felt you were

10      being hypercritical or combative or adversarial when

11      that was not your intention?

12          A.   Not really, no.

13          Q.   No.    Okay.

14          A.   I'm known for being blunt, but not combative or

15      hypercritical or whatever, no.

16          Q.   Has your bluntness caused you to have

17      miscommunications that you attribute to your diagnosis?

18          A.   That's difficult to characterize.

19      Miscommunications, who knows what the source of that, it

20      would depend on.

21          Q.   No.    I'm just -- I'm asking for your best

22      perception.      You've been, I presume you've been living

23      with your autism diagnosis for your entire life; am I

24      right so far?



     1-800-727-6396              Veritext Legal Solutions           www.veritext.com
        Case 3:22-cv-30059-MGM Document 30-3 Filed 09/12/23 Page 8 of 16



                                                                  Page 295

1           A.   Well, no, because we didn't diagnose it as a

2       child.    Like, a variety -- I didn't find out until I was

3       35, or something like that.

4           Q.   I probably didn't ask a great question.           You've

5       had autism your entire life?

6           A.   Yes.    I mean, I believe so, yes.         I think it's

7       important.

8           Q.   As you look back, you know, I guess it wasn't

9       diagnosed until your 30s, but as you look back into your

10      life experience do you feel that there were occasions

11      where you had interpersonal challenges or

12      miscommunications that were attributable to your autism

13      diagnosis?

14          A.   I think it's possible.         But I don't know whether

15      they were attributable to my diagnosis or whether they

16      were attributable to some other factor.

17          Q.   Okay.    Did you disclose your autism diagnosis to

18      R Street?

19          A.   I did not disclose it.

20          Q.   Did you disclose it to any individual employed by

21      R Street?

22          A.   I don't believe I did, no.           There's a mower

23      outside of my window, so if it gets loud, I don't know

24      if you can hear it.



     1-800-727-6396              Veritext Legal Solutions          www.veritext.com
        Case 3:22-cv-30059-MGM Document 30-3 Filed 09/12/23 Page 9 of 16



                                                                    Page 448

1           Q.   That was my next question.           So you're continuing

2       to feel emotional distress?

3           A.   Sure.

4           Q.   What would you describe your emotional distress

5       in November of 2021?

6           A.   Oh, what do you mean by "what would I describe

7       it?"

8           Q.   On a scale of 1 to 10; 10 being the worst.

9           A.   Right afterwards?      A 10.

10          Q.   Okay.   And in the more than two years it's gone

11      from a 10 to an 8; is that your testimony?

12          A.   I would say it was an average 8.             Now I think

13      that I'm, you know, have some income and actively

14      engaged in being able to help myself in a different way.

15      It's probably a 5.

16               I still -- I mean, I'm not making anywhere near

17      what I'm making, I'm living in a tiny one-bedroom

18      apartment, which is all I can afford.               My daughter is

19      still not going to college as a result of this.               And so

20      I think there are a lot of knock on effects that

21      happened.

22          Q.   Okay.   Given that you've testified that you were

23      experiencing 10 out of 10 emotional distress, why did

24      you not seek treatment for your emotional distress?



     1-800-727-6396              Veritext Legal Solutions            www.veritext.com
       Case 3:22-cv-30059-MGM Document 30-3 Filed 09/12/23 Page 10 of 16



                                                                Page 449

1           A.   Mostly because it was still during the pandemic

2       and finding any kind of therapist was very difficult.              A

3       lot of places weren't taking them.

4           Q.   Did you look for a therapist?

5           A.   I did.    I mean, I got someone to prescribe me a

6       prescription for medical marijuana for the anxiety I was

7       feeling.      I went to a doctor for that.

8                But I didn't go to a therapist also because I

9       knew it was situational and it was a matter of, I mean,

10      they're going to put me on some kind of antidepressant

11      and I don't take those kinds of medications.

12               So there was nothing for me to do other than to

13      figure out how to pick the pieces up and try to put my

14      life back together.

15          Q.   I have a couple of questions about that.         So when

16      you describe your distress as situational, are you

17      saying that you knew eventually your distress would

18      resolve and so you didn't want to seek treatment?

19          A.   It's not that I didn't want to seek treatment.

20      It was that it would be difficult to find it and then

21      to, you know, to be able to continue with it.

22               And there would also have been a cost associated

23      with it and I was holding on to every penny as best I

24      could and dipping in already to my 401(k) and trying to



     1-800-727-6396              Veritext Legal Solutions        www.veritext.com
       Case 3:22-cv-30059-MGM Document 30-3 Filed 09/12/23 Page 11 of 16



                                                                Page 507

1                                 CERTIFICATE
2
3       COMMONWEALTH OF MASSACHUSETTS
4       SUFFOLK, ss.
5
6           I, Laurie Langer, Registered Professional Reporter
        and Notary Public in and for the Commonwealth of
7       Massachusetts, do hereby certify that the witness whose
        deposition is hereinbefore set forth, was duly sworn by
8       me and that such deposition is a true record of the
        testimony given by the witness.
9
10
            I further certify that I am neither related to or
11      employed by any of the parties in or counsel to this
        action, nor am I financially interested in the outcome
12      of this action.
13
            In witness whereof, I have hereunto set my hand and
14      seal this 6th day of July, 2023.
15
16
17                           <%14646,Signature%>
18                                NOTARY PUBLIC
                                  Commission Expires
19                                7/27/2023
20
21
22
23
24

     1-800-727-6396             Veritext Legal Solutions         www.veritext.com
       Case 3:22-cv-30059-MGM Document 30-3 Filed 09/12/23 Page 12 of 16



                                                                Page 508

1       Deborah McKenna, Esq.

2       dmckenna@hayberlawfirm.com

3                                   July 7, 2023

4       RE: LAUREN ROLLINS vs. R STREET INSTITUTE

5            6/23/2023, Lauren Rollins (#5979770)

6            The above-referenced transcript is available for

7       review.

8            Within the applicable timeframe, the witness should

9       read the testimony to verify its accuracy. If there are

10      any changes, the witness should note those with the

11      reason, on the attached Errata Sheet.

12           The witness should sign the Acknowledgment of

13      Deponent and Errata and return to the deposing attorney.

14      Copies should be sent to all counsel, and to Veritext at

15      cs-ny@veritext.com.

16

17           Return completed errata within 30 days from

18      receipt of testimony.

19           If the witness fails to do so within the time

20      allotted, the transcript may be used as if signed.

21

22                       Yours,

23                       Veritext Legal Solutions

24



     1-800-727-6396               Veritext Legal Solutions       www.veritext.com
       Case 3:22-cv-30059-MGM Document 30-3 Filed 09/12/23 Page 13 of 16



                                                                  Page 509

1       LAUREN ROLLINS vs. R STREET INSTITUTE
2       6/23/2023 - Lauren Rollins (#5979770)
3                              E R R A T A          S H E E T
4       PAGE_____ LINE_____ CHANGE________________________
5       __________________________________________________
6       REASON____________________________________________
7       PAGE_____ LINE_____ CHANGE________________________
8       __________________________________________________
9       REASON____________________________________________
10      PAGE_____ LINE_____ CHANGE________________________
11      __________________________________________________
12      REASON____________________________________________
13      PAGE_____ LINE_____ CHANGE________________________
14      __________________________________________________
15      REASON____________________________________________
16      PAGE_____ LINE_____ CHANGE________________________
17      __________________________________________________
18      REASON____________________________________________
19      PAGE_____ LINE_____ CHANGE________________________
20      __________________________________________________
21      REASON____________________________________________
22
23      ________________________________                   _______________
24      Lauren Rollins                                     Date


     1-800-727-6396             Veritext Legal Solutions           www.veritext.com
       Case 3:22-cv-30059-MGM Document 30-3 Filed 09/12/23 Page 14 of 16



                                                                Page 510

1       LAUREN ROLLINS vs. R STREET INSTITUTE

2       6/23/2023 - Lauren Rollins (#5979770)

3                        ACKNOWLEDGEMENT OF DEPONENT

4            I, Lauren Rollins, do hereby declare that I

5       have read the foregoing transcript, I have made any

6       corrections, additions, or changes I deemed necessary as

7       noted above to be appended hereto, and that the same is

8       a true, correct and complete transcript of the testimony

9       given by me.

10

11      ______________________________            ________________

12      Lauren Rollins                            Date

13      *If notary is required

14                           SUBSCRIBED AND SWORN TO BEFORE ME THIS

15                           ______ DAY OF ________________, 20___.

16

17

18                           __________________________

19                           NOTARY PUBLIC

20

21

22

23

24



     1-800-727-6396             Veritext Legal Solutions         www.veritext.com
Case 3:22-cv-30059-MGM Document 30-3 Filed 09/12/23 Page 15 of 16



                Federal Rules of Civil Procedure

                                Rule 30



   (e) Review By the Witness; Changes.

   (1) Review; Statement of Changes. On request by the

   deponent or a party before the deposition is

   completed, the deponent must be allowed 30 days

   after being notified by the officer that the

   transcript or recording is available in which:

   (A) to review the transcript or recording; and

   (B) if there are changes in form or substance, to

   sign a statement listing the changes and the

   reasons for making them.

   (2) Changes Indicated in the Officer's Certificate.

   The officer must note in the certificate prescribed

   by Rule 30(f)(1) whether a review was requested

   and, if so, must attach any changes the deponent

   makes during the 30-day period.




   DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

   ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

   THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

   2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

   OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
Case 3:22-cv-30059-MGM Document 30-3 Filed 09/12/23 Page 16 of 16

              VERITEXT LEGAL SOLUTIONS
    COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

Veritext Legal Solutions represents that the
foregoing transcript is a true, correct and complete
transcript of the colloquies, questions and answers
as submitted by the court reporter. Veritext Legal
Solutions further represents that the attached
exhibits, if any, are true, correct and complete
documents as submitted by the court reporter and/or
attorneys in relation to this deposition and that
the documents were processed in accordance with
our litigation support and production standards.

Veritext Legal Solutions is committed to maintaining
the confidentiality of client and witness information,
in accordance with the regulations promulgated under
the Health Insurance Portability and Accountability
Act (HIPAA), as amended with respect to protected
health information and the Gramm-Leach-Bliley Act, as
amended, with respect to Personally Identifiable
Information (PII). Physical transcripts and exhibits
are managed under strict facility and personnel access
controls. Electronic files of documents are stored
in encrypted form and are transmitted in an encrypted
fashion to authenticated parties who are permitted to
access the material. Our data is hosted in a Tier 4
SSAE 16 certified facility.

Veritext Legal Solutions complies with all federal and
State regulations with respect to the provision of
court reporting services, and maintains its neutrality
and independence regardless of relationship or the
financial outcome of any litigation. Veritext requires
adherence to the foregoing professional and ethical
standards from all of its subcontractors in their
independent contractor agreements.

Inquiries about Veritext Legal Solutions'
confidentiality and security policies and practices
should be directed to Veritext's Client Services
Associates indicated on the cover of this document or
at www.veritext.com.
